864 F.2d 149
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Ronald V. JONES, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 88-3360.
    United States Court of Appeals, Federal Circuit.
    Nov. 16, 1988.
    
      Before FRIEDMAN, NIES and ARCHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Mr. Jones petitions for review of the Order of the Merit Systems Protection Board (Board), No. AT07528810159, dismissing his appeal to the Board as untimely filed.  As the Board found, Mr. Jones' appeal was not filed within the twenty-day period prescribed by 5 C.F.R. Sec. 1201.22(b) (1988) and he failed to show good cause why the time limit should be waived.  Accordingly, since we are not persuaded that the Board erred, see 5 U.S.C. Sec. 7703(c) (1982), its decision is affirmed.
    
    